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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

SAMUEL MARTINEZ, >: CIVIL ACTION NO.:
Plaintiff :
¥.
UNITED TECHNOLOGIES CORPORATION -
PRATT AND WHITNEY DIVISION AND

UNITED TECHNOLOGIES CORPORATION,
Defendant : DECEMBER 11, 2019

COMPLAINT
FIRST COUNT:

i; At all times relevant hereto, the Plaintiff. Samuel Martinez. is an
individual residing in Waterbury, Connecticut, and is and was employed by the
Defendants, Pratt & Whitney, now or formerly a United Technologies Company and
United Technologies Corp. The Plaintil¥ is a Hispanic-American male. disabled and
over 63 years of age.

Be At all times relevant hereto. the Defendant is doing business in

Middletown, Connecticut.

my On July 12,2018, Plaintiff was terminated from Pratt & Whitney in
Middletown, Connecticut. afier 39 years and 9 months of service. He is a 63 year old
Hispanic male with a physical disability, On the day of termination Plaintiff had a
10:00 a.m. meeting with Ms, Gomez of Human Resources, Mark Heller. his direct
Supervisor and Steve. a Shop Steward. Quality Assurance was discussed in the meeting.

When the mecting was over. Plaintiff went back to work. At 2:20 p-m. Mark Heller and

another supervisor. Allen H. informed Plaintiff that he was terminated and he needed to
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collect his belongings and go to Guard Headquarters, Plaintiff, was discriminated against
and treated differently than the other employees and his supervisor, Mark Heller. as they
followed the same practices as Plaintiff, based on his race, ethnicity, age and physical
disability, in violation of the Civil Rights Act of 1964, 42 USC. § 1985 — § 2000e-2. the
Age Discrimination in Employment Act of 1967, 29 U.S.C. $§ 621-634, the Americans
with Disabilities Act. 42 U.S.C. § 12101 et seq., and the Connecticut Fair Employment
Practices Act (“CFEPA™). C.G.S. §§ 46A 6O(a 1 & 4), Plaintiff has been
subsequently rehired with a loss of benefits and seniority.

4, On or about December 18, 2018, Plaintiff filed a Complaint with the
Connecticut Commission on | fuman Rights & Opportunities (hereinafter “CHRO”) and
Equal Employment Opportunities Commission (hereinafter “EEOC ’), alleging
Discrimination, based on race. age and physical disability in violation Civil Rights Act of
1964, 42 U.S.C. § 1985 — § 2000e-2, the Age Discrimination in Employment Act of
1967, 29 U.S.C. §§ 621-634, the Americans with Disabilities Act, 42 U.S.C. § 12101 et
seq., and the Connecticut Fair Employment Practices Act ("CFEPA”). C.G.S. §§ 46A —
GO(aW 1 & 4),

5. A copy of the Charge of Discrimination is attached hereto as Exhibit A",
Plaintiff obtained a Release of Jurisdiction. dated September 16, 2019, giving him until
December 16, 2019 to file a lawsuit against the Defendants. (A copy of Release of
Jurisdiction is, attached hereto as Exhibit “B”.) This Action is timely filed inter-alia, as
an employment discrimination, racial/ethnic diserimination. age discrimination case and

disability discrimination case in this court.
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SECOND COUNT:
1-5, Paragraphs | through 5 are repeated and realleged.
6. The Defendant's discriminatory practices against Plaintiff are long

standing, On April 22, 2017 Plaintiff was physically assaulted at work. An employee.
“Mike™, attacked Plaintiff and tackled him to the floor causing Plaintiff to hit the concrete
Noor facedown with Mike's large-[rame body on top of him injuring Plaintiff. Proper
procedures and safety protocols were not followed as the assailant has continued
repeatedly to display aggressive behavior toward Plaintiff, and was allowed to continue to
work for Defendant without issue or police or company involvement.

t Defendant continues to discriminate, and fails to protect. Plaintiff in the
workplace and to enforce its rules and the law equally,

THIRD COUNT;
1-7, Paragraphs | through 7 are repeated and realleged.

8. Defendant claims to have misplaced Plainulls personnel file. despite
numerous requests for same by Plaintiff and his union and is being discriminated against,
and treated differently than other employees, because other files can be located and
produced..

9, Plaintiff is being discriminated against. treated differently from other
employees based on his race, ethnicity, age and physical disability in violation of the
Civil Rights Act of 1964 42 U.S.C. §§ 1985 — 2000e-2 Civil Rights Act of 1964, 42
U.S.C. § 1985 — § 2000e-2, the Age Discrimination in Employment Act of 1967, 29

Us.C. $$ 621-634, the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.. and
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the Connecticut Fair Employment Practices Act (“CFEPA”), C.G.5. §§ 46a— 60(a)(1 &
+).
FOURTH COUNT:
1-9, Paragraphs | through 9 are repeated and realleged.
10. The Acts and Practices of the Defendants violate C.G.S. § 46a-60(a)(1 & 4), the
Connecticut Fair Employment Practices Act.

Ih. The Plaintiff has been damayed thereby.

FIFTH COUNT:

 

l-1l. Paragraphs 1 through 11 are repeated and realleged.
12. The Defendant has allowed, and continues to allow a hostile work environment to
exist with respect to Plaintiff.
13. The Acts and practices of the Defendants violate Title VII of the Civil
Rights Act of 1964, 42 U.S.C. § 1985 — § 2000e-2. the Age Discrimination in
Employment Act of 1967, 29 U.S.C. §§ 621-634, the Americans with Disabilities Act.
42 U.S.C, § 12101 et seq.. and the Connecticut [air Employment Practices Act
(“CFEPA™). C.G.8. §8 46A — 60(a\(1 & 4).
SIXTH COUNT:
1-13. Paragraphs | through 13 are repeated and real leped,
I4, United Technologies Corporation has failed to properly supervise its Pratt &
Whitney Division. and has allowed a hostile work environment to exist and unlawful

discrimination against Plaintiff to occur.
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A Jury Trial is demanded.

Hereof fail not but of this writ with Jour doings thereon make due service and
retura according ta law,

Dated: December 11.2019
Stratford, Connecticut

THE PLAINTIFF,
SAMUEL MARTINEZ

Sy) ye
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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

SAMUEL MARTINEZ, : CIVIL ACTION NO.:
Plaintiff :

UNITED TECHNOLOGIES CORPORATION -
PRATT AND WHITNEY DIVISION AND
UNITED TECHINOLOGIES CORPORATION,
Defendant >: DECEMBER 11, 2019

AMOUNT IN DEMAND
Phe amount. legal interest or property in demand is FIFTEEN THOUSAND

($15,000.00) DOLLARS or more. exclusive of interest and costs.

THE PLAINTIFF,
SAMBPELMARTINEZ

   
  

By: |
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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

SAMUEL MARTINEZ, : CIVIL ACTION NO.:
Plaintiff :

UNITED TECHNOLOGIES CORPORATION -
PRATT AND WHITNEY DIVISION AND
UNITED TECHNOLOGIES CORPORATION,
Defendant >: DECEMBER 11,2019

JURY TRIAL DEMAND
he Plaintiff, Samuel Martinez. demands Trial by Jury.

THE PLAINTIFF,
SAMUEL MARTINEZ

By.) ) =. -
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